       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 1 of 27




               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT WHARTON,                        :      CIVIL ACTION
                                       :
             Petitioner                :      No. 2:01-cv-06049-MSG
                                       :
       v.                              :      CAPITAL CASE
                                       :
TAMMY FERGUSON,                        :
       Superintendent,                 :
                                       :
             Respondent                :

     SUR-REPLY BRIEF OF AMICUS CURIAE PENNSYLVANIA OFFICE
         OF ATTORNEY GENERAL TO REPLY BRIEFS FILED BY
        PETITIONER AND THE DISTRICT ATTORNEY’S OFFICE

       AND NOW, comes the Pennsylvania Office of Attorney General as amicus

curiae, through James P. Barker, Chief Deputy Attorney General, who files this

Sur-Reply of Amicus Curiae Pennsylvania Office of Attorney General to Reply

Briefs Filed by Petitioner and the District Attorney’s Office, and in support thereof

represents as follows:

I.     INTRODUCTION

       Before the Court is a Petition for Writ of Habeas Corpus filed by Petitioner

Robert Wharton challenging two sentences of death. Over the last three decades,

the Supreme Court of Pennsylvania affirmed Wharton’s judgment of sentence on

direct appeal and affirmed the denial of relief under the Pennsylvania Post

Conviction Relief Act (“PCRA”), 42 Pa.C.S. §§ 9541-9546, and this Court, during
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 2 of 27




its initial review, denied all of Wharton’s claims for habeas corpus relief under 28

U.S.C. § 2254. Currently pending before the Court is Wharton’s remaining claim

of ineffective assistance of trial counsel for failing to investigate and present

evidence of Wharton’s “positive” prison adjustment at the second penalty phase

hearing in 1992, a claim the Third Circuit remanded for an evidentiary hearing.

      After the remand, the District Attorney’s Office filed a Notice of Concession

of Penalty Phase Relief, indicating that it was conceding relief on the penalty phase

claim and that it would not pursue the death penalty in state court. The Notice of

Concession provided that the decision to concede was made “[f]ollowing review of

this case by the Capital Case Review Committee of the Philadelphia District

Attorney’s Office, communication with the victims’ family, and notice to

[Wharton’s] counsel” (Doc. No. 155).

      In light of this proposed concession, by Order dated May 7, 2019, this Court

requested that the OAG submit a brief as amicus curiae, setting forth its position as

to whether the law requires relief on this remaining claim. (Doc. No. 165) The

Court indicated that, before conceding the claim, the District Attorney’s Office

“fails to indicate whether it did any investigation regarding [Wharton’s] adverse or

negative adjustment to prison,” and appears to have “accepted the additional

evidence offered by [Wharton] at face value, without exploring whether contrary

views may be viable and worth considering.” Order at 2-3 ¶ 5.


                                           2
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 3 of 27




       On June 12, 2019, Wharton filed a Motion to Modify or Reconsider the

Court’s May 7, 2019, Order. (Doc. No. 166) Wharton argued, inter alia, that

participation in this case by any member of the OAG who was involved in his

prosecution while a member of the District Attorney’s Office would create “the

appearance of a conflict of interest, if not an actual conflict.” (Doc. No. 166) The

OAG subsequently responded to the Motion to Modify or Reconsider. (Doc. No.

169)

       By Order dated June 24, 2019, the Court denied Wharton’s Motion to

Modify or Reconsider Court Order. (Doc. No. 170) In doing so, the Court noted

that Wharton had not cited any authority for the proposition that participation by

any member of the OAG who was involved in Wharton’s prosecution while a

member of the District Attorney’s Office would create “the appearance of a

conflict of interest, if not an actual conflict,” nor did the Court envision such a

conflict.

       On July 22, 2019, pursuant to the Court’s May 7 Order, the OAG filed its

amicus brief, setting forth its position that inquiry into the areas identified by the

Court provided evidence of Wharton’s overwhelmingly negative prison

adjustment, negating his claim that trial counsel was ineffective.

       On July 23, 2019, Wharton sought leave to file a reply to the amicus brief

(Doc. No. 172), which the Court granted. (Doc. No. 174) The Court directed


                                           3
        Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 4 of 27




Wharton to address the following questions: (1) whether, under Rule 7 of the Rules

Governing Section 2254 Cases, the Court should accept into the record the

evidence referenced by the OAG; and (2) whether the OAG should participate in

an evidentiary hearing on Wharton’s remaining habeas claim. Additionally, the

Court stated that the OAG may submit a sur-reply to Wharton’s reply brief

addressing the same two questions.

       Thereafter, the District Attorney’s Office filed a Reply to the OAG’s amicus

brief, responding only to a narrow issue raised in the amicus brief. (Doc. No. 176)

The OAG subsequently sought leave to combine responses to the reply briefs filed

by Wharton and the District Attorney’s Office, which this Court granted on August

13, 2019 (Doc. No. 178)

       On August 23, 2019, Wharton filed his response to the amicus brief and the

two questions posed by the Court.1

       Pursuant to the Court’s August 13 order, the OAG herein files this sur-reply

to the reply briefs filed by Wharton and the District Attorney’s Office.




1
  In that same filing, Wharton for the first time sought to stay these proceedings pending King’s
Bench litigation in state court involving other capital cases, and for a continuance to submit his
full factual responses to the new evidence submitted by the OAG in its amicus brief. Those
requests are pending before the Court. The District Attorney’s Office has since filed its own
motion seeking to hold these proceedings in abeyance.
                                                 4
        Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 5 of 27




II.    SUR-REPLY TO WHARTON’S RESPONSE TO AMICUS BRIEF

       A.      The Evidence of Adverse Prison Adjustment

               1.     Wharton’s Escape From City Hall While In Custody2

       Wharton argues that his April 21, 1986 attempt to escape City Hall—which

is the most damning piece of evidence highlighting his adverse prison

adjustment—is “irrelevant” and “inadmissible.” Despite the fact that, as of April

21, 1986, Wharton had been incarcerated for nine months as a convicted murderer

under sentence of death, Wharton asserts that the Court should not consider his

escape attempt because: (1) he had not yet entered the custody of the Pennsylvania

Department of Corrections (“DOC”) and, therefore, his escape attempt does not

count; and (2) he tried to escape “deputy sheriffs” as opposed to “correctional

officers.” This argument is without merit.3

2
 The argument that the record should be expanded to include the records pertaining to
Wharton’s escape attempt is in Section IV.A, below.
3
  Wharton first states that he entered custody of the DOC after he received his home
invasion/robbery sentence on April 21, 1986. He then states that, in September 1986, he was
classified at the Eastern Diagnostic and Classification Center and placed at SCI-Huntingdon.
According to Wharton, “[n]ot until then did he begin, effectively, living in the highly restrictive
conditions of death row under the supervision of the Department of Corrections staff. The escape
attempt therefore occurred before he entered the Department of Corrections custody . . . .”
(Wharton Response, pp. 7-8). This recitation is incomplete.

       Wharton was incarcerated as of the time of his arrest on February 7, 1984. The first jury
convicted him of the victims’ murders and sentenced him to death on July 5, 1985. While still
incarcerated, Wharton was transported to City Hall for sentencing in his unrelated home
invasion/robbery case. After he was sentenced in that case (when he attempted to escape City
Hall), Wharton entered SCI-Graterford (i.e., the DOC) on May 2, 1986. He was formally
sentenced to death on September 24, 1986, and transferred to SCI-Huntingdon on September 25,

                                                5
        Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 6 of 27




         A petitioner’s prison adjustment pertains to his behavior and conduct

while incarcerated, regardless of whether it is in a county jail, a state correctional

institution, or a federal prison. The physical location of the incarceration and the

identity of the correctional facility or correctional personnel supervising the

custody are completely irrelevant to an assessment of a petitioner’s prison

adjustment. All that is relevant is the petitioner’s behavior while in custody.

       Wharton fails to cite a single case to substantiate his assertion that his escape

attempt should be discounted or is “inadmissible” because, in his opinion, it

occurred before “the relevant period.” Stated differently, Wharton provides no

authority for his assertion that the “prison adjustment clock” does not start to run

until a formally sentenced defendant enters the DOC, and that any period of

incarceration prior to that is essentially non-existent or “irrelevant” to an

assessment of a petitioner’s adjustment to prison life. Nor can he provide such

authority, as that is not the law.

       Wharton’s logic is contradicted by cases in which defendants claimed that

trial counsel was ineffective for failing to present evidence of positive prison


1986, where he remained until his 1992 penalty phase hearing. Thus, Wharton entered the DOC
on May 2, 1986, but was incarcerated long before then in different facilities for the offenses for
which he was convicted in this case. Indeed, Wharton can hardly have expected to leave custody
after confessing to two murders on February 7, 1984, and to other serious offenses shortly
thereafter. Wharton’s recitation also ignores his ongoing pattern of maladaptive behavior,
including his possession of antennae fashioned into handcuff keys and his prohibited practice of
martial arts, which extended well into the time of his DOC custody.

                                                6
        Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 7 of 27




adjustment even during pretrial incarceration. In determining whether to find

counsel ineffective for failing to present evidence of alleged positive adjustment

during pretrial detention, federal courts apply Strickland to analyze the

performance prong and prejudice prong.4 No court has declined to consider such a

claim, or declared such evidence “irrelevant” or “inadmissible” simply because it

pertained to adjustment prior to trial, i.e., prison adjustment before the defendant

was convicted and entered a state correctional facility. Rather, courts focus on the

petitioner’s behavior and conduct while incarcerated and whether trial counsel was

ineffective for failing to present it. What matters is the petitioner’s adjustment to

prison life, not the location or specific dates of the imprisonment.

       The same is true here. In July 1985, the first jury convicted Wharton of two

counts of first-degree murder and sentenced him to death for both murders.

Wharton was incarcerated and commenced his prison life, awaiting execution for

these capital offenses. Still in custody nine months later, Wharton was transported


4
  See, e.g., Peterka v. McNeil, 532 F.3d 1199, 1203-07 (11th Cir. 2008) (rejecting the petitioner’s
claim that penalty-phase counsel's performance was deficient because counsel failed to
adequately investigate or present mitigating evidence of his good behavior during pretrial
incarceration); Jenkins v. Allen, 2016 WL 4540920, at *58-61 (N.D. Ala. Aug. 31, 2016) (in
order to show counsel was ineffective for failing to investigate and present evidence of his good
conduct while he was incarcerated and awaiting trial as potential mitigation at the penalty phase,
the petitioner must satisfy the two-pronged test articulated in Strickland v. Washington; the
petitioner must show that counsel's performance was deficient and that he was prejudiced by the
deficient performance); Chinn v. Warden, Mansfield Corr. Inst., 2011 WL 5338973, at *102
(S.D. Ohio Oct. 14, 2011) (rejecting the petitioner’s claim that counsel was ineffective for failing
to offer evidence of his good pretrial detention behavior in the mitigation phase of his trial; “This
Court cannot say that the evidence of good behavior pending trial was so persuasive that failure
to present it was ineffective assistance of trial counsel.”).
                                                 7
        Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 8 of 27




from his correctional facility to City Hall for sentencing in his unrelated home

invasion/robbery case. While there as an incarcerated defendant awaiting

sentencing after multiple convictions and in the custody of the Philadelphia deputy

sheriffs, Wharton, in possession of a makeshift handcuff key, tried to escape City

Hall and had to be shot twice to be apprehended outside the building. This

behavior by Wharton as an incarcerated defendant is highly probative of just how

poorly he was adjusting to prison life.

       Nor may Wharton’s escape attempt be discounted on the ground that he tried

to bolt from Philadelphia “deputy sheriffs,” as opposed to “correctional officers,” a

distinction without a difference. Wharton does not dispute that he was a convicted

defendant who was brought to court for sentencing in his home invasion/robbery

case when he tried to escape custody. Again, prison adjustment pertains to a

petitioner’s ability to adapt to life in prison. In this case, Wharton exhibited his

failure to adapt when he tried to escape his prison life.5


5
  Wharton asserts that the fact that the District Attorney’s Office never mentioned his escape
attempt during the many years of litigation in this case “confirms its irrelevance and
inadmissibility.” (Wharton Response, p. 13) There is no support for this contention.

   During the PCRA proceedings and the pre-remand years of proceedings in this Court, there
would have been no reason for the District Attorney’s Office to look for evidence refuting
Wharton’s proffered evidence of positive prison adjustment. During the PCRA proceedings,
Wharton filed a 125-page amended petition and his ineffectiveness claim regarding his positive
prison adjustment was just one of twenty-three claims. Wharton attached no prison records to his
amended petition to support his claim and the District Attorney’s Office responded to that claim
(and many others) accordingly in its motion to dismiss. It was not until the PCRA court issued a
notice of intent to dismiss, see Pa.R.Crim.P. 907, that Wharton proffered the Declaration from

                                                8
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 9 of 27




       Wharton’s argument reduces to a suggestion that he could not properly begin

adjusting until he was under the discipline of death row conditions. He would have

been free to make such an argument to the jury; but he would not have been free to

bar the Commonwealth from responding to it with rebuttal. An argument for a life

sentence in place of a death sentence is an argument for life in general population,

not on death row. Evidence of a violent escape effort before he even got to state

custody would surely have been relevant to rebut any claim that Wharton would

have been a peaceful and placid inmate content to accept imprisonment for the rest

of his life. Such evidence would be particularly probative in an instance such as



Dr. Krop and the more than 200 pages of prison records upon which he now relies. The PCRA
court subsequently dismissed Wharton’s PCRA petition without an evidentiary hearing. There
was no need for the District Attorney’s Office to refute Wharton’s prison adjustment claim with
independent evidence.

        Likewise, during the pre-remand habeas corpus proceedings in this Court, there would
have been no reason for the District Attorney’s Office to look for evidence refuting Wharton’s
proffered evidence of positive prison adjustment. Again, Wharton’s claim of positive prison
adjustment was just one of twenty-three claims contained in massive filings by Wharton. The
District Attorney’s Office was able to respond adequately to that claim based solely on the
records Wharton proffered to this Court, and this Court found the Commonwealth’s response
sufficient to resolve the claim against Wharton without litigating it at an evidentiary hearing.
Wharton was the moving party during both the PCRA proceedings and the habeas corpus
proceedings before this Court. As such, it was his burden to proffer evidence in support of his
claim of positive prison adjustment. The PCRA court and this Court found that what he proffered
alone was insufficient to entitle him to relief. The only reason why the additional evidence
regarding Wharton’s adverse prison adjustment (including his escape attempt) has now been
presented to the Court is because the Third Circuit remanded the case for an evidentiary hearing
to examine this particular issue more closely. The Third Circuit and this Court both pointed out
the need for further investigation and the District Attorney’s Office chose not to conduct such
investigation. It was then that this Court asked the OAG to review the claim and determine
whether there was a factual basis for conceding that Wharton’s prison adjustment warranted
relief.

                                               9
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 10 of 27




this, where Wharton’s initial escape was part of a pattern of conduct that was

repeated well into Wharton’s preferred time period. He points to no authority,

much less clearly established federal law, supporting the exclusion of evidence

based on such an artificial limitation. See 28 U.S.C. § 2254(d).

              2.      The Misconduct Records & Prescriptive Program Plans

       While conceding that the record should be expanded to include the prison

misconduct records proffered by the OAG in its amicus brief, Wharton asserts that

these prison misconduct records add nothing new to what has previously been

submitted to this Court and the Third Circuit. (Wharton Response, p. 4)6 This

clearly is not the case.

       As noted in the OAG’s amicus brief, while the PRC mentioned some of

these misconducts in Wharton’s periodic PRC reports (which are a part of the

current record in this case), the reports contain only brief, fleeting and vague

references to them. In contrast, the actual misconduct records proffered by the

OAG detail all of Wharton’s misconducts, the gravity of the violations, his

attempts to dispute each and every one of them, the PRC and Hearing Examiner’s

findings during each stage of the disciplinary process, and the sanctions imposed

for the misconducts. The documents proffered by the OAG, which have never


6
 At no point in his response does Wharton offer an explanation as to why, during the last decade
plus of federal litigation, he never provided to this Court the additional DOC records proffered
by the OAG.
                                              10
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 11 of 27




before been disclosed to the state and federal courts, provide a far more expansive

and genuine picture of Wharton’s adjustment in prison.

               3.     The Performance Prong

       Wharton asserts that, prior to obtaining Mr. Cannon’s 2018 Declaration, he

sent him the Third Circuit briefs submitted by both sides which “contained detailed

discussions of the same infractions” “based on the same records proffered in this

Court” (Wharton Response, p. 9). But providing trial counsel with the arguments

contained in the Third Circuit briefs addressing some content of the prison records

is far different than providing counsel with the hundreds of pages of actual DOC

records,7 especially those records proffered by the OAG that detail each of

Wharton’s misconducts

       The Third Circuit briefs also do not address Wharton’s attempt to escape

City Hall in April 1986. Nor did the Third Circuit briefs address the Prescriptive

Program Plans from 1989, 1990, 1991 and 1992, identifying Wharton’s “Areas of

Concern” as “Assaultiveness” and “Escape.” Thus, Wharton did not provide trial

counsel all relevant information simply by handing him the Third Circuit briefs.




7
  This point is readily apparent when examining the content of the Third Circuit briefs addressing
the positive adjustment claim. The actual substance of certain prison records (those selected to be
mentioned in the brief) represented a small portion of discussion in the briefs. The bulk of the
discussion in the briefs pertained to legal arguments. As such, the briefs did not serve as a
substitute for providing trial counsel with a complete set of the hundreds of actual DOC records
that formed the basis of the ineffectiveness claim against him.
                                                11
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 12 of 27




The briefs were insufficient to provide him with a complete, accurate and genuine

picture of Wharton’s prison adjustment or lack thereof.

       Moreover, Wharton fails to acknowledge the consequences at trial if trial

counsel had presented such truncated evidence of Wharton’s so-called “positive”

prison adjustment. Instead, Wharton asserts that trial counsel’s failure to get the

records in the first place is the end of the inquiry in assessing this ineffectiveness

claim. That is not the law. Wharton must demonstrate that trial counsel’s conduct

“fell below an objective standard of reasonableness.” Strickland v. Washington,

466 U.S. 668, 688 (1984).

       Wharton does not attempt to refute that presentation of boilerplate notations

contained in the PRC records would have opened the door to the Commonwealth

presenting the mountain of evidence regarding his numerous prison misconducts

between 1985 and 1992, two of which involved the possession of contraband that

constituted both an “implement of escape” and a potential weapon, another of

which involved Wharton’s repeated practice of martial arts – along with Wharton’s

attempted escape from City Hall. If trial counsel had opened the door to evidence

of Wharton’s bad prison adjustment, he would likely be facing a challenge for

doing exactly what he is now challenged for not doing.8

8
 In fact, Wharton effectively acknowledges as much in his Reply. He asserts that, by presenting
evidence of “positive attributes while incarcerated” through family members, trial counsel
created “a risk of opening the door to [his] prison conduct,” which “only heightened the

                                              12
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 13 of 27




       Similarly, Wharton ignores that presenting rebuttal evidence of his escape

attempt would have either prevented or negated one of trial counsel’s main

arguments for a life sentence: that if Wharton was sentenced to life imprisonment,

he would never again be a threat to society, because he would never be able to

leave the prison. Given his risk of escape, however, there was no guarantee that

Wharton would remain incarcerated for the rest of his life if sentenced to life

imprisonment.

       Thus, the performance prong does not just require an assessment of the

“positive” prison information and whether that information alone would have

helped defendant. Rather, in determining whether an objectively reasonable basis

exists for not using that information at trial, courts must consider the potential

disadvantages and risks of using that evidence. In this case, Wharton’s partial and

misleading adjustment evidence would have been fatal to the defense strategy at

the penalty phase.




irresponsibility of counsel’s failure to investigate it.” (Wharton Response, p. 10) Thus, in
hindsight, Wharton criticizes counsel for the evidence he chose to present at the penalty phase,
asserting that it created a risk of opening the door for the Commonwealth to present evidence of
his adverse prison adjustment. Wharton, however, cannot have it both ways. He cannot claim
that trial counsel should have presented the records of his positive prison adjustment, and at the
same time assert that counsel wrongly presented other evidence that risked opening the door to
the damaging prison evidence.
                                                13
      Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 14 of 27




             4.    The Prejudice Prong

      Tellingly, when addressing the prejudice prong (i.e., whether there is a

reasonable probability that the jury would have sentenced him to life instead of

death if only it had heard the PRC’s boilerplate notations that he had periods where

his adjustment was “routine,” “positive,” “satisfactory,” “problem-free,” or

“uneventful”), Wharton fails to take into account the following critical evidence:

          the penalty phase record setting forth the details of his terrorization,
           destruction, and burglaries of the victims’ home and church prior to
           the murders over a debt that he believed was owed to him;

          the testimony that the victims were separated, bound, masked with
           duct tape, strangled and/or drowned even after Wharton forced
           Bradley Hart to write him a check to satisfy the purported debt;

          the evidence that Wharton left the victims’ baby girl alone in the
           unheated home in subfreezing temperatures after killing her parents;

          the events leading up to Wharton’s arrest, when police recovered
           proceeds from the series of burglaries/robberies at the victims’ home;

          his confession to the brutal murders (“I had put this tape around her
           face from her eyebrows down to her chin while we was in the
           bathroom first before I dunked her head in the water. I held her head
           down in the water till the bubbles stopped after a while”), and his
           explanation for why he killed them (“cause they knew me and would
           turn us in”); and

          the aggravating circumstances that the killing occurred while
           perpetrating a robbery/burglary, and that this was a double murder.

Regardless of whether counsel was deficient in his performance (and he was not),

against the backdrop of this evidence, along with the substantial evidence of

                                         14
      Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 15 of 27




Wharton’s adverse prison adjustment, he cannot make the requisite showing of

prejudice. See Williams v. Beard, 637 F.3d 195, 227 (3d Cir. 2011) (“A careful

prejudice inquiry requires that we “consider all the relevant evidence that the jury

would have had before it if [counsel] had pursued [a] different path,” which

includes the evidence adduced at trial as well as that which was not presented;

once the record is reconstructed, we must “reweigh the evidence in aggravation

against the totality of available mitigation evidence;” only then can it be

determined whether there is a reasonable probability that, but for counsel's

ineffectiveness, the result of the proceeding would have been different).

             5.     Expert Opinions of Dr. Krop and Dr. O’Brien

      Wharton criticizes Dr. O’Brien’s statement that Dr. Krop “may have been

wholly unaware of Mr. Wharton’s extensive history of criminal behavior aside

from his participation in the murders of Bradley and Ferne Hart.” According to

Wharton, “[t]he record provides no support for this speculation.” (Wharton

Response, p. 12)

      Dr. O’Brien’s statement is by no means “speculation” given that Dr. Krop

failed even to acknowledge Wharton’s criminal history aside from his participation

in the victims’ murders. Dr. Krop makes no mention of the home invasion/robbery

of the South Philadelphia couple in early 1984 (just weeks before the Hart

murders) that Wharton admitted to committing. Dr. Krop also makes no mention of


                                          15
      Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 16 of 27




the series of burglaries at the Germantown Boys Club in 1983 that Wharton

admitted to committing (also prior to the Hart murders). Given Dr. Krop’s

complete failure to recognize any of this criminal behavior by Wharton prior to the

Hart murders, Dr. O’Brien appropriately suggested that Dr. Krop may have been

“wholly unaware” of it (giving Dr. Krop the benefit of the doubt as to his failure to

acknowledge it). The only other remaining possibility (which is actually worse for

Wharton) is that Dr. Krop was aware of Wharton’s true history, but simply chose

not to acknowledge it at all, let alone explain why he believed it had no impact on

his conclusions that Wharton’s adjustment was “quite positive.”

      Dr. Krop also failed to comment on Wharton’s escape conviction, which

further substantiates Dr. O’Brien’s statement that Dr. Krop was likely “unaware”

of his criminal history.

      Wharton further critiques Dr. O’Brien (and the OAG) for placing “heavy

emphasis” on his “infraction for possessing a handcuff key,” stating that it “fell

relatively early in his incarceration.” (Wharton Response, p. 13) (emphasis added)

This statement exemplifies Wharton’s attempt to minimize his prison misconduct

record.

      Wharton had two misconducts for possession of contraband—implements of

escape, not one. During the first episode in 1989, Wharton had hidden two pieces

of metal antenna in the mounting of his toilet, one of which had been fashioned


                                         16
      Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 17 of 27




into a handcuff key. During the second episode in 1989 (two days after being

found guilty of the first incident), Wharton had hidden a 4-inch piece of broken

metal antenna in the binding of his legal material. The PRC found it “quite

credible” that the metal was to be “used to make a handcuff key,” just as Wharton

had done just days earlier. Wharton committed these two 1989 misconducts three

years after he attempted to escape City Hall in April 1986, using his makeshift

handcuff key. Thus, this was no momentary or minor lapse. During a three-year

time span, between 1986 and 1989, Wharton exhibited a pattern of attempting to

escape custody with his homemade handcuff keys. Unlike Dr. O’Brien, who

appropriately acknowledged this history, Dr. Krop makes no mention of it at all.

      B.     The Proposed “Settlement.”

      Wharton urges this Court to accept the District Attorney’s concession on the

ground that the District Attorney must “consider the views of the people of

Philadelphia, who elected him on a platform that included a promise not to seek the

death penalty in murder cases.” (Wharton Response, pp. 14-15) It is unclear

whether a promise not to “seek” the death penalty includes a promise to vacate all

pre-existing death sentences, but the question is not ultimately relevant. This

Court has already held that, as a matter of both state and federal law, a prosecutor

has no power to perform such a promise.




                                         17
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 18 of 27




       In its March 4, 2019 Memorandum Opinion, this Court extensively

examined the Pennsylvania Supreme Court’s decision in Commonwealth v. Lavar

Brown, 196 A.3d 130 (Pa. 2018), as well as federal law. 9 The Court concluded that

a “concession” or “settlement” by parties to a habeas corpus action neither binds

nor empowers a habeas court, which may upset a state court judgment only upon a

finding of legal error. Wharton provides no basis for overturning the Court’s

ruling on this question. Instead he asserts that, “[b]y moving to settle this litigation,

the District Attorney fulfills his campaign promise,” Wharton Response at 22,

suggesting that the Court is obliged to enlist itself in that endeavor. As this Court

has already determined, it has no power to grant relief on such grounds.




9
 See also Commonwealth v. Chimenti, No. 2262 EDA 2018, 2019 WL 4180660 at *10 (Pa.
Super. September 4, 2019) (“We reject Appellant's claim … that the Commonwealth should have
abided by an alleged agreement which was voided by the Supreme Court of Pennsylvania.
Furthermore, notwithstanding the fact the current District Attorney's Office ‘agrees’ its
predecessors breached the agreement, and thus Appellant is entitled to PCRA relief, we reject
such an argument as it is beyond the power of the District Attorney. To adopt the position of the
current District Attorney on the so-called plea agreement would allow the District Attorney to
usurp the power of the judiciary, including that of our Supreme Court.”).

  On September 4, 2019, Wharton’s counsel provided to the Court additional “authority” – in the
form of an order in an unrelated habeas case – for the notion that the Court may simply accept
the District Attorney’s concession without a determination of its factual or legal merit. (Doc. No.
184) It is not clear why this Order, issued November 6, 2018, could not have been brought to the
Court’s attention previously. Regardless, the order in question contains no factual or legal
analysis, and does not reveal whether the court engaged in factual or legal analysis before issuing
the order, or whether it considered if it had a legal obligation to do so. Such an unexplained order
obviously carries no persuasive or authoritative precedential value. To the extent the Order
suggests that the District Attorney’s Office has engaged in similar conduct in other cases, the
point is not contested.
                                                18
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 19 of 27




III.   RESPONSE REGARDING STATEMENTS OF VICTIMS’ FAMILY
       MEMBERS.

       The District Attorney’s Office suggests that it was inappropriate for the

OAG to proffer statements from the surviving victim and the other family

members of the victims because they are “irrelevant” to these proceedings.10 It was

the District Attorney’s Office, however, that made the victim communications

relevant by relying on them in its Notice of Concession. The Notice provided that

the decision to concede penalty phase relief was made “[f]ollowing review of this

case by the Capital Case Review Committee of the Philadelphia District Attorney’s

Office, communication with the victims’ family, and notice to [Wharton’s] counsel”

(Doc. No. 155) (emphasis added). Thus, the Notice filed by the District Attorney’s

Office with this Court represented that the communications factored into the

office’s concession decision.

       This Court concluded that it could not act on the basis of the concession

alone, and subsequently requested the OAG to conduct further investigation into

the matter. Contact with family members pursuant to that investigation revealed a

somewhat different scenario than that suggested by the Notice. Moreover, had the

Notice not referred to victim communication, the views of family members would

still have been relevant as a matter of law. Both the state Crime Victims Act and


10
  In its reply brief, the District Attorney’s Office does not contest any other aspect of the OAG’s
amicus brief.
                                                19
      Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 20 of 27




the federal Crime Victims’ Rights Act, 18 P.S. §§ 11.101 et seq.; 18 U.S.C. §

3771, provide for consideration of the views of crime victims.

      The District Attorney’s Office nonetheless suggests that contacts with

victims and family members are “private matters” that should not be shared with

the Court. But the original reference to such matters occurred in the Notice of

Concession, not in the amicus brief. In any case, there has been no violation of

privacy in this case. The surviving victim and her family members desired to

express their views to this Court, and wrote their letters knowing they would be

made public. The OAG has presented these letters to the Court verbatim, without

extensive comment. The statements adequately serve to clear up any

misimpressions that may have been created concerning the position of the victims

on the appropriate disposition of the proceedings.

IV.   EXPANSION OF RECORD AND EVIDENTIARY HEARING.

      A.      Expansion.

      For the reasons stated in Section II.A.1 above, Wharton’s attempt to escape

City Hall while incarcerated is highly relevant to his claim of “positive” prison

adjustment. Accordingly, the record should be expanded to include the following

documents pertaining to Wharton’s escape attempt attached as Exhibit B to the

OAG’s amicus brief:

            The court dockets and documents from the Quarter Sessions file
             (including the Arrest Report, Criminal Complaint, docket entries,
                                         20
Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 21 of 27




      Written Guilty Plea Colloquy, High Bail Request Form, and
      sentencing paperwork) set forth the charges against Wharton, the
      factual basis for those charges and the disposition of the case;

    The memo dated July 23, 1986, to Erskind DeRamus (former Deputy
     Commissioner of the DOC), from staff members at the Eastern
     Diagnostic and Classification Center reflects that, while Wharton was
     in the sheriff’s custody in City Hall for a court matter, he attempted to
     escape custody. This document obtained directly from the DOC
     demonstrates that the DOC was advised that one of its inmates
     attempted to escape custody when he was brought to Philadelphia for
     his unrelated criminal matter;

    The statement from former prosecutor Carlos Vega provides an
     eyewitness account of Wharton’s 1986 escape attempt. While Mr.
     Vega did not see Wharton’s actual escape attempt, he was nearby at
     the time and heard the commotion and gunshots. Mr. Vega further
     describes seeing Wharton’s purported “arm injury” that resulted in
     him having only one hand cuffed at the waist (as opposed to having
     both hands cuffed). Mr. Vega’s statement is significant because, after
     thirty-three years, he is the only readily available living witness who
     was physically present when the escape attempt occurred and can
     recall the events.

    The newspaper articles and the DOC medical records (reflecting
     Wharton’s gunshot wounds from his escape attempt) are further
     corroborating evidence of his escape attempt and capture, and provide
     additional critical details surrounding his escape that are not contained
     in the court file (such as eyewitness accounts that Wharton was
     “nursing a supposedly lame right arm” before he made a “miraculous
     recovery” that allowed him to “open his handcuffs and snap apart a
     plastic cast before fleeing from deputy sheriffs in City Hall”; that
     “Wharton was “pumping both of his arms while running, showing no
     difficulty with the supposedly lame arm”; and that a “handcuff key
     was found afterwards near the second floor elevator where Wharton
     bolted from deputies”); and

    The Westlaw opinions from Wharton’s lawsuit against police for
     stopping his escape provide additional evidence of the incident, and

                                  21
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 22 of 27




               reflect on Wharton’s willingness to accept punishment for his capital
               crimes.

       Additionally, the letters submitted to the Court by the surviving victim and

the other family members of the victims are relevant to complete the record

concerning the Notice of Concession, and to assure compliance with the statutory

rights of crime victims. The Court should expand the record to include these

documents as well.

       B.      Evidentiary Hearing.

       The Court has directed briefing on the possible participation of the OAG in

the evidentiary hearing. The extent to which an amicus curiae participates in a

pending action is solely within the broad discretion of the district court. Waste

Mgmt. of Pa., Inc. v. City of York, 162 F.R.D. 34, 36 (M.D. Pa. 1995). See Hard

Drive Prods., Inc. v. Does 1-1,495, 892 F. Supp. 2d 334, 337 (D.D.C. 2012)

(because the amicus’ participation is for the benefit of the court, it is solely within

the Court's discretion to determine “the fact, extent, and manner” of participation).

That participation may include involvement in evidentiary proceedings, and many

courts have so directed.11 This Court therefore has discretion to conduct the

hearing without the OAG, or to direct the OAG to take part in the proceedings.

11
  See e.g., Angel Flight of Georgia, Inc. v. Angel Flight America, Inc., 272 F. App'x 817, 818
(11th Cir. 2008) (recognizing that court permitted amici curiae to participate in injunction
hearing); Massachusetts v. Microsoft Corp., 373 F.3d 1199, 1206 (D.C. Cir. 2004) (noting that
district court allowed amici curiae to participate in hearing); Black Hills Inst. of Geological

                                               22
       Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 23 of 27




       At this point, however, the question may be premature, as it is not clear that

any disputed facts exist for resolution at a hearing. Wharton’s response concerning

the additional materials challenges only their relevance, not their authenticity, and

the District Attorney’s response makes no challenge to the materials at all. The real


Research v. U.S. Dep't of Justice, 978 F.2d 1043, 1044 (8th Cir. 1992) (noting that amicus curiae
presented multiple expert witnesses at hearing in district court); Hoptowit v. Ray, 682 F.2d 1237,
1260 (9th Cir. 1982) (“We conclude that the district judge did not abuse his discretion in
appointing the Department of Justice and the United States Attorney as amicus curiae. Although
we recognize that participation of the United States in this case was somewhat more than the
usual participation of amici [in that the amicus participated fully in the discovery, trial, and
appeal of this case], we are unable to say that the degree of amicus's participation was error or in
any way prejudiced the rights of the State.”), abrogated on other grounds by Sandin v. Conner,
515 U.S. 472 (1995)); United States v. CVS Health Corp., 2019 WL 2085718, at *1 (D.D.C. May
13, 2019) (finding that it would be helpful for the amici curiae participating in the matter to
present witnesses at a hearing; “This hearing is merely an opportunity for the parties and the
amici to provide the Court with whatever information and analysis they believe will aid the
Court in determining whether the Government’s proposed final judgment is in the public
interest.”); United States v. Collyard, 2013 WL 1346202, at *1-3 (D. Minn. Apr. 3, 2013)
(permitting amicus curiae to present evidence and question witnesses at evidentiary hearing
addressing ineffective assistance of counsel claim, as well as file briefs; “This Court has invited
third parties to appear as amicus curiae when the third parties' perspective, arguments, theories,
and/or facts are helpful to the Court and may not otherwise be contained in the parties' briefs.
Given the legal and factual issues regarding Defendant's ineffective assistance of counsel claim,
the involvement of [the amicus curiae] in the upcoming hearing will assist the Court. Moreover,
[the amicus curiae] may provide information not presented by the parties.”) (citations omitted);
Southern Offshore Fishing Ass'n v. Mineta, 2000 WL 33171005, at *1 (M.D. Fla. Dec. 7, 2000)
(noting that the amici curiae participated at several court hearings and in discussions with
counsel in chambers); Wyatt By & Through Rawlins v. Hanan, 868 F. Supp. 1356 (M.D. Ala.
1994) (district court reinstating federal government to its historical active role as amicus curiae,
thus allowing it to address any issue raised by parties by conducting discovery and participating
in trial through examination of witnesses and presentation of its own witnesses); United States v.
Hooker Chemicals & Plastics Corp., 101 F.R.D. 451, 459 (W.D.N.Y. 1984) (“the court strongly
encourages each of the applicants to participate as amici curiae in the hearings that will be held
in connection with the court's review of the proposed settlement and judgment”), aff'd, 749 F.2d
968 (2d Cir. 1984); United States v. American Telephone and Telegraph Co., 1976 WL 1321, at
*2 (D.D.C. 1976) (district court “invites and urges” amicus to attend and participate in the
hearing); see also Russell v. Bd. of Plumbing Examiners of Cty. of Westchester, 74 F. Supp. 2d
349, 351 (S.D.N.Y. 1999) (“A court can allow amici to call their own witnesses and cross
examine the witnesses of other parties”), aff'd, 1 F. App'x 38 (2d Cir. 2001).

                                                23
      Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 24 of 27




remaining issues concern the legal significance of the documents in relation to the

claim of ineffectiveness, which is a question to be resolved as a matter of law, not

fact. While the court of appeals did remand the case to this Court in expectation

that an evidentiary hearing would be required, subsequent events appear to have

rendered moot any such requirement.

      In any event, Wharton has now requested more time in an attempt to secure

new statements from trial counsel and from his expert. These new statements

would presumably present new opinions about what counsel should have done with

the full set of documents, as opposed to the incomplete set previously reviewed.

The Court has not yet ruled on this request. If it is granted, an assessment can be

made at that time as to the existence of material issues of disputed fact.

      In the meantime, Wharton seeks to limit the Court’s discretion in conducting

any hearing that may occur. He asserts that the Court cannot direct the OAG to

participate in an evidentiary hearing because doing so would create “an appearance

of impropriety.” This alleged appearance, claims Wharton, arises because former

lawyers of the District Attorney’s Office, who are now employed by the OAG,

may have been named on briefs filed by the District Attorney’s Office in this case

decades ago (Wharton Response, pp. 19-20). This is a retread of the argument

already rejected by this Court in response to Wharton’s reconsideration motion in




                                          24
      Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 25 of 27




June. His argument has not improved. As before, Wharton is unable to cite any

authority for his position.

       Nor does it have any clear rationale. Wharton’s theory seems to be that the

District Attorney is a “party” to this case. But the District Attorney is not a party to

this case. His name does not appear on the docket; only the warden’s does. It is

true that in a great many habeas cases the District Attorney is named as a nominal

party. But, as Wharton’s counsel is undoubtedly aware, in such cases it is common

that the Attorney General is also named as a party, for the sole purpose of ensuring

a response to the petition. In this case neither is named and it is not clear how any

of this advances Wharton’s claim.

      There is no mystery as to the cause of the OAG’s participation as an amicus

in this matter. This Court requested that participation, after the Notice of

Concession, in order to preserve an adversary process that could assist the Court in

carrying out its duty to determine the merits of the legal claim that the court of

appeals ordered it to consider. See Liberty Res., Inc. v. Philadelphia Housing Auth.,

395 F. Supp. 2d 206, 209 (E.D. Pa. 2005) (participation of an amicus is especially

proper where the amicus will ensure “complete and plenary presentation of

difficult issues so that the court may reach a proper decision”). The OAG has

participated in this matter solely in accord with that request. The Court will




                                          25
      Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 26 of 27




determine any further extent of that participation in the sound exercise of its

discretion.

       WHEREFORE, the Office of Attorney General, as amicus curiae,

respectfully files this sur-reply brief.



                                     By: /s/ James P. Barker
                                         James P. Barker
                                         Chief Deputy Attorney General
                                         Pennsylvania Office of Attorney General
                                         Criminal Law Division
                                         Appeals and Legal Services Section
                                         16th Floor—Strawberry Square
                                         Harrisburg, PA 17120
                                         (717) 787-6348
                                         jbarker@attorneygeneral.gov

Date: September 6, 2019




                                           26
      Case 2:01-cv-06049-MSG Document 185 Filed 09/06/19 Page 27 of 27




                         CERTIFICATE OF SERVICE
      I hereby certify that on this date, I caused the foregoing Surreply to be served

on the following persons via ECF or by first class mail:

                         Via ECF and/or First Class Mail

      Victor J. Abreu, Esquire                      Max Cooper Kaufman
      Claudia Van Wyk, Esquire                      Paul M. George
      Federal Community Defender Office             Nancy Winkleman
      Capital Habeas Corpus Unit                    District Attorney’s Office
      601 Walnut Street, Suite 545 West             3 South Penn Square
      Philadelphia, PA 19106                        Philadelphia, PA 19107



                                  By: /s/ James P. Barker
                                      James P. Barker
                                      Chief Deputy Attorney General
                                      Pennsylvania Office of Attorney General
                                      Criminal Law Division
                                      Appeals and Legal Services Section
                                      16th Floor—Strawberry Square
                                      Harrisburg, PA 17120
                                      (717) 787-6348
                                      jbarker@attorneygeneral.gov


Date: September 6, 2019




                                         27
